                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:05CR235-5-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                      SCHEDULING ORDER
                                 )
GILBERT GARRILLE CALDWELL,       )
                                 )
           Defendant.            )
________________________________)


       THIS MATTER is before the Court on the Court’s Order, filed on June 18, 20151,

ordering this matter for resentencing.

       IT IS, THEREFORE, ORDERED that:

       The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of GILBERT GARRILLE CALDWELL

(USM# 20519-058), for re-sentencing on September 8, 2015, before the Honorable

Richard L. Voorhees, in the Western District of North Carolina, Statesville Courthouse,

200 West Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than

August 14, 2015, and upon completion of the re-sentencing hearing, Defendant is to be

returned to the custody of the Bureau of Prisons.

       The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

       IT IS SO ORDERED.

 Signed: July 1, 2015




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1
 The Court granted the Defendant’s Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §
2255, following remand from the Fourth Circuit Court of Appeals and on the Government’s Response to
Defendant’s Motion and Supplemental Motion. The Defendant will be resentenced without the § 851
enhancement.




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